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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

__________________________________________
COLLEEN M. BRADLEY,                        :
                                           :
      Plaintiff,                           :
                                           :
      v.                                   :
                                           :                 CIVIL ACTION
WEST CHESTER UNIVERSITY OF THE             :
PENNSYLVANIA STATE SYSTEM OF               :                 No. 15-2681
HIGHER EDUCATION, et al.,                  :
                                           :
      Defendants.                          :
__________________________________________
	  
                          NOTICE OF APPEAL

       Plaintiff, Colleen M. Bradley, through her attorneys, hereby gives Notice of her

Appeal to the United States Court of Appeals for the Third Circuit of the following

judgments and orders of the United States District Court for the Eastern District of

Pennsylvania in the above-captioned civil action:

       (1) the Memorandum and Order entered December 9, 2015, dismissing Count I

of the Complaint with prejudice as against West Chester University and the Pennsylvania

State System of Higher Education;

       (2) the Memorandum and Order entered April 19, 2016, dismissing Count I of the

Amended Complaint with prejudice as to all Defendants except for Mark Mixner in his

individual capacity, dismissing Count II of the Amended Complaint without prejudice as

to all Defendants, and dismissing Counts III and IV of the Amended Complaint without

prejudice as to all Defendants except for Mark Mixner in his individual capacity; and
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        (3) the Memorandum and Order entered March 6, 2017, entering Summary

Judgment in favor of Defendant, Mark Mixner, and against Plaintiff, Colleen M. Bradley.

                                           Respectfully submitted,

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                                           ATTORNEYS FOR PLAINTIFF
                                           COLLEEN M. BRADLEY




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